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 8                           UNITED STATES DISTRICT COURT

 9                          CENTRAL DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,               No. CR 18-891-DMG

11             Plaintiff,                    ORDER CONTINUING TRIAL DATE AND
                                             FINDINGS REGARDING EXCLUDABLE TIME
12                   v.                      PERIODS PURSUANT TO SPEEDY TRIAL
                                             ACT [45]
13   ROBIN DIMAGGIO,
                                             JURY TRIAL DATE:
14             Defendant.                    8-27-2019 at 8:30 a.m.
15                                           PRETRIAL CONFERENCE:
                                             8-14-2019 at 2:30 p.m
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18        The Court has read and considered the Stipulation Regarding
19   Request for (1) Continuance of Trial Date and (2) Findings of
20   Excludable Time Periods Pursuant to Speedy Trial Act, filed by the
21   parties in this matter on July 5, 2019.        The Court hereby finds that
22   the Stipulation, which this Court incorporates by reference into this
23   Order, demonstrates facts that support a continuance of the trial
24   date in this matter, and provides good cause for a finding of
25   excludable time pursuant to the Speedy Trial Act, 18 U.S.C. § 3161.
26        The Court further finds that: (i) the ends of justice served by
27   the continuance outweigh the best interest of the public and
28   defendant in a speedy trial; (ii) failure to grant the continuance
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 1   would be likely to make a continuation of the proceeding impossible,

 2   or result in a miscarriage of justice; and (iii) failure to grant the

 3   continuance would unreasonably deny defendant continuity of counsel

 4   and would deny defense counsel the reasonable time necessary for

 5   effective preparation, taking into account the exercise of due

 6   diligence.

 7        THEREFORE, FOR GOOD CAUSE SHOWN:

 8        1.      The trial in this matter is continued from July 23, 2019 to

 9   August 27, 2019 at 8:30 a.m.      The pretrial conference is continued to

10   August 14, 2019 at 2:30 p.m.

11        2.      The time period of July 23, 2019 through August 27, 2019,

12   inclusive, is excluded in computing the time within which the trial

13   must commence, pursuant to 18 U.S.C. §§ 3161(h)(7)(A), (h)(7)(B)(i),

14   and (B)(iv).

15        3.      Defendant shall appear in Courtroom 8C of the Federal

16   Courthouse, 350 W. 1st Street, Los Angeles, California on August 14,

17   2019 at 2:30 p.m. and on August 27, 2019 at 8:30 a.m.

18        4.      Nothing in this Order shall preclude a finding that other

19   provisions of the Speedy Trial Act dictate that additional time

20   periods are excluded from the period within which trial must

21   commence.    Moreover, the same provisions and/or other provisions of

22   the Speedy Trial Act may in the future authorize the exclusion of

23   additional time periods from the period within which trial must

24   commence.

25        IT IS SO ORDERED.

26    July 8, 2019
      DATE                                    DOLLY M. GEE
27                                            UNITED STATES DISTRICT JUDGE
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